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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION

        MONTY D. CARVER,                              §
                                                      §
                         Plaintiff,                   §
                                                      §
        v.                                            §        CIVIL ACTION NO. __________
                                                                                20-1192
                                                      §
        KINGSDOWN, INC. a/k/a                         §
        KINGSDOWN,                                    §


                                            NOTICE OF REMOVAL

                   Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Kingsdown, Inc.

        (“Kingsdown” or the “Company), hereby gives notice of the removal of this action from the

        McLennan County, Texas, District Court to the Western District of Texas. The basis for removal

        is as follows:

                   1.    On November 23, 2020, Plaintiff Monty D. Carver filed a Civil Complaint

        (“Complaint”) against the Defendant in McLennan County, Texas, captioned and docketed as

        Monty D. Carver v. Kingdown, Inc. Cause No. 2020-3766-3 (the “State Court Action”).

                   2.    Plaintiff served Defendant on December 1, 2020.

        I.         Defendants Have Satisfied The Procedural Requirements for Removal.

                   3.    Venue is proper because this Court embraces the Judicial District Court where

        Plaintiff filed his complaint. 28 U.S.C. § 1441(a); 28 U.S.C. § 101.

                   4.    This Notice of Removal is timely under 28 U.S.C. § 1446(b) because it is filed

        within 30 days after receipt by Defendants of the Complaint.

                   5.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being filed

        with the 74th Judicial District Court Clerk and upon all parties.



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                   6.      As required by 28 U.S.C. § 1446(a), copies of the Complaint and summons

        received by Defendant are attached hereto as Exhibit A and Exhibit B respectively.

                   7.      By filing this Notice of Removal, Defendants do not waive any objections or

        other defenses that are or may be available to them.

        II.        This Court Has Subject Matter Jurisdiction Under 28 U.S.C. § 1332.

                   8.      Pursuant to 28 U.S.C. § 1441(a), this Court has jurisdiction over “[a]ny civil

        action brought in a State court which the district courts of the United States have original

        jurisdiction[.]”

                   9.      This Court has original jurisdiction over this action on the basis of diversity of

        citizenship under 28 U.S.C. § 1332(a) because Plaintiff alleges more than $75,000 in damages

        and that the parties are citizens of different states. See 28 U.S.C. § 1332(a) (United States

        District Courts “have original jurisdiction of all civil actions where the matter in controversy

        exceeds the sum or value of $75,000, exclusive of interest and costs, and is between . . . citizens

        of different States.”).

                   A.      The Amount in Controversy Exceeds $75,000.

                   10.     To establish jurisdiction under 28 U.S.C. § 1332, the amount in controversy must

        exceed $75,000, exclusive of interest and costs. The Complaint prays for lost past and future

        wages and benefits of employment, past and future compensatory damages, pecuniary losses,

        emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life, and other

        nonpecuniary losses. See Compl. at Damages. Plaintiff also alleges Defendant is liable for

        punitive damages and attorneys’ fees and costs. See Compl. at Punitive Damages, Attorney Fees,

        Prayer for Relief.




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                   11.    A review of Plaintiff’s employment records indicates that at the time of his

        separation from the Company, Plaintiff was earning a salary of $45,000 a year and worked

        approximately 40 hours a week. See Declaration of Michele Price (“Price Decl.”) at ¶ 3.

                   12.    Plaintiff’s employment ended on January 13, 2020. See Price Decl. at ¶ 4.

        Accordingly, assuming a trial date of one year from the date of removal, a reasonable estimate of

        Plaintiff’s claim for lost wages alone, from the date of his alleged separation through the time of

        trial, exclusive of any interest, amounts to approximately $90,000 ($45,000 [his salary since it

        has been approximately one year since his employment ended] + 45,000 [$3,750.00, the average

        monthly income x 12]). Price Decl. at ¶ 3.

                   13.    Plaintiff also alleges a laundry list of nonpecuniary losses, such as emotional pain,

        suffering, inconvenience, mental anguish, and loss of enjoyment of life. See Compl. at Damages.

        While the exact amount of Plaintiff’s nonpecuniary damages are not currently known, based on

        the nature of Plaintiff’s allegations, such alleged damages are far more than nominal in character.

                   14.    Plaintiff also seeks to recover punitive damages. See Compl. at Punitive Damages.

        Because the Texas Labor Code provides for punitive damages, punitive damages may be

        assessed in the amount in controversy. See Salinas v. Allstate Vehicle & Prop. Ins. Co., 7:15-CV-

        434, 2016 WL 8650475, at *2 (S.D. Tex. Sept. 28, 2016). Based on the allegations of damages,

        the total amount of punitive damages claimed exceeds $75,000.00.

                    15.   Finally, Plaintiff seeks attorneys’ fees. See Compl. at Attorney Fees. While

        attorneys’ fees are not generally included in the amount in controversy, a District Court in Texas

        has ruled that attorneys’ fees may be included when attorneys’ fees are authorized by statute. Id.




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                   16.   Both the amount of damages requested in the Complaint and the attorneys’ fees

        demonstrate that the “matter in controversy exceeds the sum or value of $75,000, exclusive of

        interest and costs,” as required by 28 U.S.C. § 1332(a).

                   B.    Diversity of Citizenship is Satisfied.

                   17.   Plaintiff Monty D. Carver is a citizen of Texas. See Compl., ¶ 6.

                   18.   For purposes of diversity, “a corporation shall be deemed to be a citizen of every

        State and foreign state by which it has been incorporated and of the State or foreign state where it

        has its principal place of business.” 28 U.S.C. § 1332(c)(1).

                   19.   Defendant Kingsdown is incorporated in North Carolina with its principal place

        of business also located in North Carolina. See Price Decl. at ¶ 5. Accordingly, Kingsdown is a

        citizen of North Carolina. See 28 U.S.C. § 1332(c)(1).

                   20.   Because there is complete diversity of citizenship between the Plaintiffs and

        Defendants, diversity of citizenship is satisfied.




        DATED: December 29, 2020




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                                                       Respectfully submitted,


                                                       /s/ Carrie B. Hoffman
                                                       Carrie B. Hoffman
                                                       State Bar No. 00787701
                                                       2021 McKinney Avenue, Suite 1600
                                                       Dallas, TX 75201-3340
                                                       Telephone: (214) 999-3000
                                                       Facsimile: (214) 999-4667
                                                       choffman@foley.com

                                                       ATTORNEY FOR DEFENDANT




                                                   5
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                                        CERTIFICATE OF SERVICE

                The undersigned hereby certifies that a true and correct copy of the foregoing was served
        via the Court’s CM/ECF filing system on December 29, 2020, on all counsel of record. Counsel
        of record will also be served by U.S. mail pursuant to Federal Rule of Civil Procedure 5(b)(2).


                                                        /s/ Carrie B. Hoffman
                                                        Carrie B. Hoffman




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                                                                                              MCLENNAN COUNTY
                                                                                              11/23/2020 11:56 AM
                                                                                              JON R. GIMBLE
                                                                                              DISTRICT CLERK
                                                         2020-3766-3
                                                     NO. _____________                            Tiffany Crim


              MONTY D. CARVER,                                   §      IN THE DISTRICT COURT
              Plaintiff                                          §
                                                                 §
              V.                                                 §     74TH
                                                                        _____ JUDICIAL DISTRICT
                                                                 §
              KINGSDOWN, INC. a/k/a KINGSDOWN                    §
              Defendant                                          §      MCLENNAN COUNTY, TEXAS


                                             PLAINTIFF’S ORIGINAL PETITION


             TO THE HONORABLE JUDGE OF SAID COURT:

                     Plaintiff, MONTY D. CARVER, complains of KINGSDOWN, INC. a/k/a KINGSDOWN,

             hereinafter referred to as Defendant, and files this Original Petition and for such would show the

             Court and Jury the following:

                                                     NATURE OF SUIT

                     This is a suit against Defendant complaining of disability discrimination and retaliation based

             on the Texas Commission on Human Rights Act, V.T.C.A. Texas Labor Code §§ 21.001 et. seq.

             seeking damages for job termination and other related damages allowed by said law.

                                                 DISCOVERY CONTROL PLAN

                     1.    Discovery shall be conducted under T.R.C.P. 190.4 (Level 3).

                                                          PARTIES

                     2.    Plaintiff is Monty D. Carver, an adult citizen of the United States. Defendant does

             business in McLennan County, Texas.




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                                                                                                           EXHIBIT
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                      3.   Defendant is one or more entities with which Plaintiff was employed and was discharged

             from employment on or about January 13, 2020. Plaintiff brings this suit under the authority of Texas

             Rule of Civil Procedure 28, which allows any partnership, unincorporated association, private

             corporation, or individual doing business under an assumed name to sue or be sued in its partnership,

             assumed or common name. Plaintiff brings this suit against the entity with which Plaintiff was

             employed and was discharged from employment on January 13, 2020. At all times relevant to this

             suit, Defendant was doing business under the common and/or assumed names Kingsdown, Inc.

             and/or Kingsdown, while employing Plaintiff. Therefore, Plaintiff uses these names in this suit

             against the true entity or entities that employed, injured, discriminated against, and discharged

             Plaintiff from employment with it. Plaintiff reserves the right to amend this petition to add any other

             entities which may be later learned to be an employer of Plaintiff. Defendant may be served with

             process by serving its registered agent for service: Corporation Service Company d/b/a CSC-Lawyers

             Incorporating Service Company, 211 E 7th Street, Suite 620, Austin, Texas 78701-3218.

                                                     JURISDICTION/VENUE

                      4.   This Court has jurisdiction over this suit because the facts of this cause of action arise

             under the Texas Commission on Human Rights Act, V.T.C.A. Labor Code §§ 21.001 et seq.,

             hereinafter "the Texas Human Rights Act" or “TCHRA.” At all times relevant to this action,

             Plaintiff was an "employee" and Defendant was an "employer" as those terms are defined under the

             Texas Human Rights Act.

                      5.   A substantial portion of the cause of action in question occurred in McLennan County,

             Texas.




             PLAINTIFF’S ORIGINAL PETITION- Page 2




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                                                            FACTS

                     6. Plaintiff was an employee of Defendant as a production supervisor at Defendant’s Waco,

             McLennan County, Texas location. Plaintiff worked as a full time employee of Defendant from April

             23, 2019 until he was illegally discharged on or about January 13, 2020.

                     7.    Plaintiff has the impairment of coronary artery disease which resulted in his having

             bypass surgery on December 23, 2019.

                     8. The coronary artery disease affected Plaintiff’s cardiovascular system and the subsequent

             surgery substantially limited Plaintiff’s ability to care for himself, perform certain manual tasks, and

             lift objects of more than a certain weight for a period of time following the surgery.

                     9. Defendant’s Senior VP of Production checked in with Plaintiff following his surgery and

             stated that Defendant would work with Plaintiff’s restrictions when he was able to return to work.

                     10. Plaintiff requested the use of Defendant’s short-term disability benefits for the few

             weeks he expected to be off work following his bypass surgery. Plaintiff’s doctor submitted the

             short-term disability paperwork to Defendant on or about January 2, 2020. The short-term disability

             paperwork included Plaintiff’s need for four weeks off work, a return to work part-time for two

             weeks, with a return to full days at six weeks on or about February 3, 2020, and lifting restrictions

             upon his return that would increase incrementally for approximately six months.

                     11. On January 3, 2020, Defendant’s Senior VP of Production called Plaintiff and told him

             that they were going to be letting him go due to his need for being off work, his need to return to

             work part-time, and his lifting restrictions. Plaintiff was told that he would be kept on until January

             13, 2020 which would allow him to use up his vacation and paid time off days, but then all his




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             insurance and benefits would be cancelled. The Senior VP of Production stated multiple times

             during the phone call that the company was self-insured.

                     12. On January 7, 2020, Plaintiff contacted Defendant’s human resource generalist and

             requested the reasonable accommodation of being allowed off work until February 3, 2020 with a

             return to work with the restrictions his doctor had recommended. Defendant’s Vice President of

             Human Resources denied Plaintiff’s request for a reasonable accommodation and failed to enter into

             the interactive process regarding any other reasonable accommodation to Plaintiff’s disability.

             Plaintiff was terminated on January 13, 2020.

                                                     CAUSES OF ACTION

                                      VIOLATION OF TEXAS LABOR CODE § 21.051

                                             Disability Discrimination & Retaliation

                     13. As described above, at all relevant times to this suit, Plaintiff was a person with the

             impairments described above, that substantially limited major life activities and was a "qualified

             individual with a disability," as those terms are defined by the TCHRA. At all times relevant to this

             action, Plaintiff was an “employee” and Defendant was an "employer" as those terms are defined

             under the TCHRA.

                     14. As stated above, at all relevant times to this suit, Plaintiff had the physical impairment

             of cardiovascular disease, that substantially limited one or more major life activities or major bodily

             functions, including, but not limited to, his cardiovascular system as described above. Also, these

             impairments substantially limited Plaintiff’s abilities, to perform manual tasks, care for himself, and

             lift objects of certain weights. Plaintiff reserves the right to add to or subtract from these major

             bodily or life activities.


             PLAINTIFF’S ORIGINAL PETITION- Page 4




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                     15. Plaintiff alleges that, as described above, a motivating factor for his termination was his

             impairing disabilities, Plaintiff‘s record of impairing disabilities, and/or Defendant regarding him

             as being impaired/disabled in violation of the TCHRA § 21.051 et seq. resulting in damages as

             hereinafter set forth.

                     16.     Also, as described above, Defendant failed to engage in the interactive process with

             Plaintiff to discover a reasonable accommodation to his impairments/disability and retaliated against

             him for requesting and/or receiving a reasonable accommodation, which constitutes disability

             discrimination.

                     17.      Also, as described above, Defendant retaliated against Plaintiff by terminating his

             employment after he requested a reasonable accommodation to his disability.

                                                         DAMAGES

                     18. As a result of the violations of the TCHRA, as described above, Plaintiff has lost past

             and future wages and benefits of employment. Further, Plaintiff has suffered past and future

             compensatory damages, pecuniary losses, emotional pain, suffering, inconvenience, mental anguish,

             loss of enjoyment of life, and other nonpecuniary losses. Plaintiff hereby sues for reimbursement of

             said damages.

                                                     PUNITIVE DAMAGES

                     19. Defendant’s wrongful action in terminating Plaintiff was done knowingly, intentionally,

             with malice, and/or recklessly or with gross negligence in violation of Plaintiff’s state protected

             rights; therefore, Plaintiff is entitled to recover punitive damages from Defendant.




             PLAINTIFF’S ORIGINAL PETITION- Page 5




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                             INJUNCTION/EQUITABLE RELIEF AGAINST DEFENDANT

                     20. On a finding that Defendant has engaged in an unlawful practice(s), as alleged above,

             Plaintiff requests the Court to prohibit by injunction the Defendant from engaging in the unlawful

             employment practice(s) and order any and all additional equitable relief as may be appropriate as

             listed and set out in § 21.258 of the Texas Labor Code, including reinstatement to his job, if

             reasonably possible at the time and under the circumstances then existing.

                                                     ATTORNEY FEES

                     21. Plaintiff has also had to employ an attorney to vindicate his rights for being terminated,

             and seeks reasonable and necessary attorney fees as allowed by law.

                                            ADMINISTRATIVE PREREQUISITES

                     22. All conditions precedent to the cause of action under Texas Labor Code § 21 have been

             performed or have occurred, including exhausting all required administrative remedies. Plaintiff

             timely filed a complaint of discrimination with the Texas Workforce Commission, Civil Rights

             Division (TWCCRD) within 180 days of his termination, which is a joint filing with the Equal

             Employment Opportunity Commission (EEOC), based on their work sharing agreement, exhausted

             all administrative remedies by allowing the TWCCRD to investigate the complaint for 180 days.

                                                      JURY DEMAND

                     23. Plaintiff respectfully demands a trial by jury.

                                                           PRAYER

                     WHEREFORE, Plaintiff requests that on final hearing, Plaintiff be awarded damages, as

             stated above, punitive damages, attorney fees, costs of court, prejudgment interest, injunctive relief,




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             reinstatement, if possible, and such other relief, both at law and in equity, as Plaintiff may be justly

             entitled.




                                                            WASH & THOMAS
                                                            Attorneys at Law
                                                            6613 Sanger Ave.
                                                            Waco, Texas 76710
                                                            (254) 776-3611
                                                            (254) 776-9217 - Fax Number
                                                            danwash@washthomas.com

                                                        By: /s/Danny C. Wash
                                                            Danny C. Wash
                                                            State Bar No. 20896000

                                                            ATTORNEY FOR PLAINTIFF




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                                                              FILED
  CITATION                                                    MCLENNAN COUNTY                    PAPER#   1
                                                              12/2/2020 1:42 PM                  CENTEX
  THE STATE OF TEXAS                                          JON R. GIMBLE
                                                              DISTRICT CLERK
  Cause No: 2O2O-3766-3                                       Paige Edmundson
  TO:  KINGSDOWN, INC. AIKIA KINGSDOIVN, DEFENDANT - BY SERVING ITS REGISTERED AGENT,
  CORPORATION SERVTCE COMPAIiTY DIBIA CSC-LAWYERS INCORPORATING SERVICE COMPAITY,zLI E 7TIdI
  STREET, SUITE 620, AUSTIN, TEXAS 7a7OL

  GREETINGS:

  YOU ARE HEREBY COMMANDED to appear before the Honorable District Court below, of Mclennan County, Texas,
  at the Courthouse of said County located at 501 Washington Avenue in Waco, Texas, by filing a written answer with
  the Clerk of the Court, at or before 10 o'clock A.M. of the Monday next after the expiration of twenty days after the
  date of service of this citation, to the pleading described below, in the cause number described below on the docket of
  said court, and styled,

  PARTIES TO THIS ACTION ARE

  MONTY D. CARVER                                                                    Plaintiff

  VS.

  KTNGSDOWN, INC. AIIr.IA KINGSDOWN                                                  Defendant

  Court: 74TH JUDICIAL DISTRICI
  Pleading: PLAINTIFFS ORIGINAL PETITION
  Pleading File Date: NOVEMBER 23,2O2O
  Cause No: 2O2O-3766-3

                                                         NOTICE

         You haae been sued. You mag emplog an attorneg. If gou or gour dttorneg does not Jile a written
  ansurer ulth the clerk who issued this cltatlon bg 7O:OO q.m. on the Mondag nert fotlowing the expiratlon of
  twentg dags after gou were sented thls cltation and the aboae pleadlng, a default Judgment mag be tq.ken
  agalnst gou.

  The officer executing this citation shall promptly serve the same according to requirements of law, and the mandates
  hereof, and make due return as the law directs.

  ISSUED AND GwEN UNDER MY IIAND AND SEAL OF OFFICE, at Waco, Mclennan County, Texas.
  Issue Date: NOVEMBER 30, 2O2O.

  DANTiTY   C. WASH                                             Jon R. Gimble, District Clerk
  6613 SANGER AVENUE                                            501 Washington Ave., Suite 30tl Annex
  wAco, TExAs 76710                                             w                                   7670 r
  Attorney for Plaintiff                                        By:                                            Deputy
                                                                             NICHELLE MADDISON




                                                                                                              EXHIBIT
                                                                                                                B
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                                                     RETURN OF SERVICE

  Style: MONTY D. CARVERVS. KINGSDOWN, INC. AII#-IA KINGSDOWN
  Cause No: 202O-3766-g
  Court: 74TH JUDICTAL DISTRICT
  Paper#: 1
  Pleading: PLAINTIFF'S ORIGINAL PETITION


  Came to hand on        the      day   of                      ,20-         at      o'clock   _M.        and executed on the    _
  day of                                     20-         by   delivering   to the party      designated    in the citation, to-wit:



  at                           in person, a true copy of this citation with a true and correct copy of the pleading attached
                         -M;
  thereto, having first endorsed on such copy of said citation the date of delivery.

    -o'clock
  FEES: Serving one (1) copy

  Total $                                                                                                            County, Texas

                                                                        By
                          *O *3??5T3I,?BT3;ABLE
                                                                                               See    Attackd Retunr of Sermee
  NOT EXECUTED FOR THE FOLLOWING REASONS

  and having attempted on



  "My name is                                  (First)                  (Middle)                                        (Last), my

  date of birth   is                                                   , and mv address is



  I declare under penalty of perjury that the foregoing is true and correct. Executed in                               Count5z, State

  ofTexas, on     the            day of                                (Month)               (Year)

                                                                                                       (Signature) Declarant"




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           74th Judicial District Court of McLBNNAN County, Texas

            Cause    No. 2020-3766-3

             Monty D. Carver

                Plaintiff,

             Kingsdown, lnc. alW a Kingsdown



                Defendant,
                                                                   AFFIDAVIT OF SERVICE
                                                                               Corporation/Business

           I, Mark S. Burrow, make statement to the fact, that I am a competent person more than 18 years of age or older and not a
           pafty to this action nor interested in the outcome of this suit. I am a certified private process server authorized by the
           Judicial Branch Cerlification Commission of Texas and remain in good standing. I received the document(s) stated below on
           l2lll2020 at l2:ll PM instructing for same to be delivered upon: Kingsdown, lnc. a/kla Kingsdown by serving its
           Registered Agent, Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company


             That I delivered to:                      Kingsdown, lnc. alWa Kingsdown by serving its Registered Agent, Corporation Service
                                                       Company d/b/a CSC-Lawyers lncorporating Service Company

             At the address of:                        2ll   E 7th Street, Suite 620, Austin, TX 78701 located in the County   of   Travis

             On this date and time                     121112020 at    2:35 PM

             In the manner                             by personally delivering the document(s) to the AUTHORIZED PERSON, Samantha
                                                       Guerra , Agent For Service Of Process.

             The following        document(s): Citation; Plaintiffs Original Petition



            DESCRIPTION:
           Gender: Female Race/Skin: [-lispanic           Weight: 145 l-leight: 5'2 l-lair: Black Other:
           Comments:



           ] SOLEMNLYAFF                            the penalties ofperjury that the contents ofthe foregoing paper are true, correct, and within
           my pers



                  S.B                 P               12131

            SUBSCRIBED AND SWORN TO BY Mark S. Burrow on this                                  Jnd         day   of                          2020,to
                       my hand and seal ofoffice.



           Notary Public, State of Texas                                                                                       ServiceFee:   $ 50.b
                                                                                                                                        Wash   & Thomas. PC.
                                                                                                                                             Job ID#: 2002584
                             ,!,ir*       BRENDA ATTEBERRY
                                                                                                                                                        Re1#:
                                Notary Public, State of Texas
                             ias Comm. Expires
                                                 OB-t 6-2023
                             i{:s         Notory lD 1027 5070



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